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UNITED sTATEs DISTRICT COURT rm F:':_ .\ .Q;__ _\m;»
FoR THE WESTERN DISTRICT 0F TENNESSEE, WESTERN Dlvls(§§)lrj
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W D. 533 T-\F. \"\flEf\»'.-""l"llS

UNITED TECHNOLOGIES CORPORATION,
Plaintiff,

V. NO. 05-2224-Ma An

SIXTY-ONE INDUSTRIAL PARK, LTD.,

ELIZABETH FEEZOR LAZAROV AND

DAVID BENJAMIN LAZAROV,

Defendants.

 

CONSEN'I` RULE ]6(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates are
established as the final dates for:
INITIAL DISCLOSURES (RULE 26(a)(1)): June 22, 2005
JOINING PARTIES:
Plaintiff: August 15, 2005
Defendants: September 15, 2005
AMENDING PLEADINGS:
Plaintiff: August 15, 2005
Defendants: September 15, 2005
COMPLETING ALL DISCOVERY: February 15, 2006
(a) REQUESTS FOR PRODUCTION, INTERROGATORIES, and
REQUESTS FOR ADMISSION: December 15, 2005
(b) EXPERT DISCLOSURES (Rule 26(a)(2)):

(i) Plaintifl’s Experts: November 15 , 2005

This document entered on the docket sheet lr1 compliance / n /
with sum 58 and/or rs(a) FHCP on /

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(ii) Defendants’ Experts: January 15, 2006

(iii) Supplementation under Rule 26(e): 10 days after Defendant’s
disclosure

(c) DEPOSITIONS OF EXPERTS: February 15, 2006

FILING DISPOSITIVE MOITONS: March 15, 2006

FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):
(a) Plaintiff: 45 days before trial
(b) Defendants: 30 days before trial

Parties shall have 10 days alter service of final lists of Witnesses and exhibits to file
objections under Ru]e 26(a)(3).

The trial of this matter is expected to last 5 e 7 days. The presiding judge will set this
matter for JURY TRIAL. ln the event the parties are unable to agree on a joint pretrial order,
the parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for

filing of such motion is extended for good cause shown, or any objection to the default, response,

or answer shall be waived.

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The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, expect motions pursuant to FRCP l2, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate ]udge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to tria].

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date; 7)/`£17 27', _2.€¥.')(

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CONSENTED TO:

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CV-02224 vvas distributed by fax, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

